






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00437-CV







In re Charlie C. White







ORIGINAL PROCEEDING FROM TRAVIS COUNTY






M E M O R A N D U M   O P I N I O N




Charlie C. White was convicted in the 147th District Court for delivering less than
one gram of cocaine and sentenced to six months in state jail.  The district court's judgment gives
White jail time credit from April 17, 2011, the date of the offense, to April 21, 2011, the date of
sentence.  In his pro se mandamus petition, White contends that he is entitled to additional time
credit to April 29, 2011, the date he was received by the department of criminal justice.  He also
contends that he is entitled to good conduct time credit.  White complains that the district court
refused his request for a judgment nunc pro tunc awarding him this additional time credit and
petitions the Court to order the district court to act.  See Ex parte Ybarra, 149 S.W.3d 147, 148-49
(Tex. Crim. App. 2004).

 White was entitled to credit for the time he spent in jail from the date of his arrest
and confinement until his sentencing.  See Tex. Code Crim. Proc. Ann. art. 42.03, §&nbsp;2(a)(1) (West
Supp. 2010).  That is the time credit he was given by the district court.  The statute does not entitle
White to the additional eight days' credit he requested.

The award of good conduct time credit is discretionary with the sheriff.  See id. art.
42.032, § 2.  White has made no showing that he was given this discretionary credit.

The petition for writ of mandamus is denied.  See Tex. R. App. P. 52.8(a).



				__________________________________________

				J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Pemberton and Henson

Filed:   July 22, 2011


